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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE

 SHANNON BEERS,

       Plaintiff,

           v.                                     Civil Action No.

 MENTOR ABI, LLC d/b/a
 NEURORESTORATIVE MAINE,

       Defendant.


                                     COMPLAINT
                               (JURY TRIAL REQUESTED)

      NOW COMES the Plaintiff, Shannon Beers (“Plaintiff” or “Ms. Beers”), by

counsel, and complains against the Defendant, Mentor ABI, LLC d/b/a

NeuroRestorative Maine (“Defendant” or “Mentor”) as follows:

                             JURISDICTION AND PARTIES

      1.        This action arises under the Maine Whistleblowers’ Protection Act

(“MWPA”), 26 M.R.S. §§831 et seq., as enforced through the Maine Human Rights Act

(“MHRA”), 5 M.R.S. §§ 4551 et seq., and common law contract law.

      2.        Plaintiff is a United States citizen residing in Sanford, Maine.

      3.        Defendant is a Delaware corporation with a principal place of business in

Boston, Massachusetts which provides rehabilitation services, including supported

and transitional living, for people with brain and spinal cord injuries and other

neurological challenges.

      4.        Defendant employs thousands of employees in 36 States.




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      5.     The amount in controversy exceeds $75,000.00.

      6.     This Court has subject matter jurisdiction over Plaintiff’s claims

pursuant to 28 U.S.C. §§ 1332 and 1367.

      7.     Plaintiff has exhausted her administrative remedies with respect to

MWPA or MHRA claims asserted set forth in this Complaint.

                              JURY TRIAL REQUESTED

      8.     Plaintiff requests a trial by jury for all claims and issues.

                              FACTUAL ALLEGATIONS

      9.     Between May 2017 and January 2018, Ms. Beers worked for Mentor as

a Residential Supervisor at the so-called “KB House” in Kennebunk, Maine.

      10.    Mentor is a Massachusetts-based mental health care provider of

rehabilitation services for individuals with disabilities in several states, including

Maine. On its website, Mentor holds itself out as “America’s largest and most

experienced provider.”

      11.    Beginning in June and July 2017 and through December 2017, Ms.

Beers, who at all times was a “mandated reporter”, reported to Mentor as well as to

the Adult Protective Services division within the Maine Department of Health and

Human Services (“DHHS”) about conditions and practices at Mentor which she

reasonably believed to be (i) illegal activities and repeated failures to comply with

Maine regulations governing the care and supervision of individuals with

disabilities residing at “Level VI” facilities, and (ii) conditions or practices which

posed serious health and safety risks to KB House residents and staff.




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      12.    In response to Ms. Beers’ numerous reports, Mentor retaliated against

her by, among other acts, subjecting her to unwarranted workplace hostility,

making false and misleading claims that she violated Mentor policies or procedures

or otherwise failed to meet Mentor performance expectations, threatening

termination, and ultimately terminating her employment on January 5, 2018.

       13.   In December 2018, Ms. Beers started a new position as a Behavior

Technician with a mental health service provider called “NeuroInternational.”

Though they were competitors and have similar names, NeuroInternational and

Mentor d/b/a NeuroRestorative were not affiliated in any way at that time.

       14.   On January 27, 2019, Ms. Beers filed a civil action against Mentor in

this Court docketed as Beers v. Mentor ABI, LLC d/b/a Mentor Maine, 19-cv-00046-

LEW. The Complaint alleged retaliation in violation of the Maine Whistleblowers’

Protection Act, 26 M.R.S. § 833 (“MWPA”).

      15.    On March 15, 2019, Mentor filed counterclaims against Ms. Beers

alleging (1) violation of 18 U.S.C. § 2520 (federal civil “wiretapping”), (2) 15 M.R.S.

§ 709 (state civil “wiretapping”), and (3) breach of contract (a non-disclosure

agreement Ms. Beers signed as part of her employment with Mentor). These

counterclaims, which were denied by Ms. Beers, are based on allegations that Ms.

Beers unlawfully recorded oral discussions at work.

       16.   In August 2019, Ms. Beers agreed to settle her claims against Mentor

at a Local Rule 83.11 Judicial Settlement Conference, and on December 3, 2019, the

Court entered an Order dismissing the action. See 19-cv-00046-LEW, Doc. 31.




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      17.    On December 5, 2019, Ms. Beers and Mentor executed the terms of

settlement agreement, which is attached hereto as Exhibit 1. The Settlement

Agreement required both parties to waive and release the opposing party from any

and all claims and defenses “of any kind or nature whatsoever, whether asserted or

unasserted, known or unknown, disclosed or undisclosed, suspected or unsuspected”

that either party “now has or had at any time” from “the beginning of time through

the date of the agreement”. See Exhibit 1 at ¶ 6. Each side agreed to never

prosecute claims or defenses “arising from or incurred in connection with” Ms.

Beers’s employment with or separation from Mentor. Id.

       18.   That Ms. Beers was happily employed by NeuroInternational in 2019

was a major factor in her decision to settle with Mentor.

      19.    Mentor knew Ms. Beers was employed by NeuroInternational.

       20.   Paragraph 2B of the December 5, 2019 Settlement Agreement states:

      2(B). Ms. Beers understands, acknowledges and agrees that she will
            not be re-employed by Mentor, and does not possess any rights or
            claims to any future employment with Mentor, or its parent
            companies, subsidiaries, affiliates, divisions, predecessors,
            and/or successors. Ms. Beers further promises, covenants and
            agrees that she will not apply for employment or otherwise seek to
            be hired, rehired, or reinstated by Mentor, or its current parent
            companies, subsidiaries, affiliates, divisions, predecessors, and/or
            successors. Ms. Beers agrees that should she apply for
            employment with Mentor or its current parent companies,
            subsidiaries, affiliates, divisions, predecessors, and/or successors,
            Mentor or its current parent companies, subsidiaries, affiliates,
            divisions, predecessors, and/or successors shall have cause to
            deny Ms. Beers’ application for employment without recourse and
            shall not be liable for any damages now or in the future for their
            refusal to employ Ms. Beers.

See Exhibit 1 at ¶ 2B. (emphasis supplied).



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      21.    Prior to December 5, 2019, as Ms. Beers and Mentor were negotiating

the Settlement Agreement, Ms. Beers and her attorney asked Mentor and its

attorney for a list of all “current parent companies, subsidiaries, affiliates, divisions,

predecessors, and/or successors.” Mentor refused to provide such a list.

      22.    When she signed the December 5, 2019 Settlement Agreement, Ms.

Beers did not have any reason to believe that NeuroInternational was a “current

parent, subsidiary, affiliate, or successor” of Mentor, and, upon information and

belief, NeuroInternational was not, in fact, a “current parent, subsidiary, affiliate,

division, predecessor, and/or successor” of Mentor as of December 5, 2019.

      23.    Mentor paid all sums due under the Settlement Agreement on

December 17, 2019.

      24.    At some point in 2019, unbeknownst to Ms. Beers, Mentor and her

then-current employer (NeuroInternational) were involved in negotiations whereby

Mentor agreed to purchase the assets of NeuroInternational, including the

acquisition of the residential facility at which Ms. Beers worked.

      25.    The negotiations to acquire NeuroInternational’s assets continued

during the period of time between August and December 2019 when Ms. Beers and

Mentor settled the case and executed the Settlement Agreement.

      26.    Upon information and belief, Mentor completed the acquisition of

NeuroInternational’s assets on January 28, 2020.

      27.    Mentor failed to disclose to Ms. Beers that it was in the process of

acquiring, or had in fact acquired, NeuroInternational’s assets.




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      28.    Ms. Beers was unaware of any of the negotiations or transactions

between Mentor and NeuroInternational until January 28, 2020, when she received

an email entitled “Action Required: NH Employee WELCOME from Mentor HR”.

The email welcomed NeuroInternational employees to Mentor, represented that all

employees were being offered “continued employment” subject only to a successful

background check, and that NeuroInternational employees were required to attend

a meeting at a local hotel in the very near future to finalize the process.

      29.    Until January 28, 2020, Ms. Beers had no reason to believe that her

employment was in jeopardy.

      30.    Until January 29, 2020 Ms. Beers had no reason to believe that

Mentor intended to attempt enforce the “no rehire” clause and terminate her for a

second time, less than 45 days after executing the settlement agreement.

      31.    On January 29, 2020, Mentor, VP of Operations James Para-Creamer

and HR Operations Manager Janet Conners called Ms. Beers to inform her that her

employment was terminated.

      32.    Ms. Beers did not resign. Mentor terminated her employment on

January 29, 2020.

      33.    Later that day, Ms. Beers received an email from Ms. Conners, which

contained a proposed severance agreement, which stated in part:

     As you now know from our meeting today, NeuroInternational Holdings,
     Inc. has been acquired by Mentor ABI, LLC. For the reasons discussed
     in our meeting today, your at-will employment with the Company is
     ending effective January 28, 2020.




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      34.    On February 14, 2020, Ms. Beers requested a copy of her personnel file

and a written reason for the termination of her employment.

      35.    On March 19, 2020, through its lawyers, Mentor described the

reason(s) for Ms. Beers’ January 29, 2020 termination as follows:

     Mentor ABI terminated Ms. Beers because Ms. Beers violated a Non-
     Disclosure Agreement and other policies and laws in making audio
     recordings and removing HIPAA-protected information during her
     employment with Mentor ABI; pursuant to the terms of the settlement
     agreement that she signed with Mentor ABI, she agreed that she did not
     have a right to future employment with Mentor ABI or any of its
     affiliated companies, which NeuroInternational is now; her sub-
     standard performance; and Ms. Beers’s failure to comply with or meet
     the expectations set forth in Mentor ABI’s policies and procedures.

      36.    On October 5, 2020, in its response statement to the Maine Human

Rights Commission, Mentor stated the following reasons for terminating Ms. Beers:

      Upon acquiring NeuroInternaional, Mentor decided that, due after-
      acquired evidence of Complainant’s misconduct at Mentor, her prior
      performance issues, as well as the “no re-hire” clause in her settlement
      agreement, Mentor would not continue Complainant’s employment after
      its acquisition of NeuroInternational. Mentor’s decision was based
      solely on the factors above and was no way unlawful or retaliatory.

      37.    The proffered reasons for termination of Ms. Beers’ employment are

false, misleading, inaccurate, and were a pretext for Mentor’s true motive and

intent, i.e., further retaliation against Ms. Beers for engaging in protected activity

and exercising her civil rights by filing complaints with the Maine Human Rights

Commission and in U.S. District Court.

      38.    The proffered reasons for termination are inconsistent with, contradict,

and violate the terms of the December 5, 2019 Settlement Agreement.




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      39.    Had Mentor or its attorneys disclosed to Ms. Beers or her lawyer that

it was in the process of acquiring NeuroInternational and that Ms. Beers would be

fired immediately once the transaction closed, Ms. Beers and her attorney would

have, either, not settled with Mentor, or would have taken a far different approach

with respect to settlement at the Judicial Settlement Conference in August and

with respect to the terms of settlement ultimately reached on December 5, 2019.

      40.    Mentor knew or should have known that Ms. Beers would not have

settled with Mentor and/or would not have agreed to resign from

NeuroInternational had Mentor disclosed, at the Judicial Settlement Conference or

during settlement discussions, the fact that it was in the process of acquiring

NeuroInternational’s assets.

      41.    Prior to signing the December 5, 2019 Settlement Agreement and until

January 28, 2020, Ms. Beers reasonably expected that she would continue her

employment with NeuroInternational.

      42.    Mentor made false representations of facts and/or failed to disclose one

or more material facts, with knowledge of its falsity or in reckless disregard of

whether it is true or false, for the purpose of inducing Ms. Beers to act or to refrain

from acting in reliance on it, and Ms. Beers justifiably relied on the representation

as true and acts upon it to her damage.

      43.    Mentor’s failure to disclose such material facts and critical information

induced and caused Ms. Beers to compromise and settle her claims with Mentor and

sign the Settlement Agreement.




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            COUNT I: Retaliation in Violation of MHRA and MWPA

      44.    Paragraphs 1-43 are incorporated by reference.

      45.    By filing a complaint with the Maine Human Rights Commission in

2018 and a civil action in the U.S. District Court for the District of Maine in 2019,

Ms. Beers engaged in activity protected by the Maine Whistleblowers’ Protection

Act and Maine Human Rights Act. 26 M.R.S. § 833(1)(C).

      46.    Ms. Beers was subjected to adverse employment action, namely, the

termination of her employment on January 29, 2020.

      47.    Mentor was motivated to terminate Ms. Beers’s employment, for a

second time, in response to and as retaliation for her protected activity.

      48.    As a direct and proximate result of her termination, Ms. Beers

sustained pecuniary and non-pecuniary damages in an amount to be proven at trial.

      WHEREFORE, Plaintiff prays for judgment and for the following legal and

equitable relief under the Maine Human Rights Act:

   A. Back pay and lost income from January 29, 2020 with prejudgment interest;

   B. Compensatory damages in an amount not to exceed $500,000 including, but
      not limited to compensation for Plaintiff’s mental anguish, financial stress,
      harm to reputation, loss of dignity and other tangible injuries;

   C. An award of reasonable attorney’s fees and all costs; and

   D. All other damages to which plaintiff may be entitled, including punitive
      damages, to be determined by a jury.

                       Count II: Fraud in the Inducement

      49.    Paragraphs 1-48 are incorporated by reference.




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      50.    As set forth above, Mentor made false representations of facts and/or

failed to disclose, one or more material facts, with knowledge of its falsity or in

reckless disregard of whether it is true or false, for the purpose of inducing Ms.

Beers to act or to refrain from acting in reliance on it, and Ms. Beers justifiably

relied on the representation as true and acts upon it to her damage.

      51.    Mentor knew or should have known that Ms. Beers would not have

settled with Mentor and/or would not have agreed to resign from

NeuroInternational had Mentor disclosed the fact that it was in the process of

acquiring NeuroInternational’s assets.

      52.    Mentor’s failure to disclose induced and caused Ms. Beers to

compromise and settle her claims with Mentor and sign the Settlement Agreement.

      53.    As a direct and proximate cause of Mentor’s fraud and failure to

disclose, Ms. Beers sustained damages in an amount to be proven at trial.

      WHEREFORE, Plaintiff prays for judgment and for the following relief:

   A. A judicial declaration that the December 5, 2019 Settlement Agreement null
      and void as a matter of law;

   B. Back pay and lost income from January 29, 2020 with prejudgment interest;

   C. Compensatory and consequential damages, including, but not limited to
      compensation for Plaintiff’s mental anguish, financial stress, harm to
      reputation, loss of dignity and other tangible injuries flowing directly from
      Defendant’s breach of contract;

   D. An award of reasonable attorney’s fees and all costs; and

   E. All other damages to which plaintiff may be entitled, including punitive
      damages, to be determined by a jury.




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                      Count III: Fraudulent Concealment

      54.    Paragraphs 1-53 are incorporated by reference.

      55.    Mentor had a legal or equitable obligation to disclose all material facts

relevant to the rights, duties, and obligations of the parties to the December 5, 2019

Settlement Agreement.

      56.    Mentor failed to disclose one or more material facts to Ms. Beers

during settlement discussions and negotiations and did so with the intention of

inducing Ms. Beers act or to refrain from acting in reliance on its non-disclosures.

      57.    Mentor’s failure to disclose such material facts in fact induced and

caused Ms. Beers to compromise and settle claims with Mentor and sign the

Settlement Agreement where she would not have done so had Mentor disclosed

those facts to her prior to signing the Settlement Agreement.

      58.    As a direct and proximate cause of Mentor’s concealment and failure to

disclose, Ms. Beers sustained damages in an amount to be proven at trial.

      WHEREFORE, Plaintiff prays for judgment and for the following relief:

   A. A judicial declaration that the December 5, 2019 Settlement Agreement null
      and void as a matter of law;

   B. Back pay and lost income from January 29, 2020 with prejudgment interest;

   C. Compensatory and consequential damages, including, but not limited to
      compensation for Plaintiff’s mental anguish, financial stress, harm to
      reputation, loss of dignity and other tangible injuries flowing directly from
      Defendant’s breach of contract;

   D. An award of reasonable attorney’s fees and all costs; and

   E. All other damages to which plaintiff may be entitled, including punitive
      damages, to be determined by a jury.



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                         COUNT IV: Breach of Contract
                            (Alternative Pleading)

      59.    Paragraphs 1-58 are incorporated by reference.

      60.    Should the Court or a jury determine that the December 5, 2019

Settlement Agreement was not procured by fraud and is thus not null and void as a

matter of law, Plaintiff alleges that the December 5, 2019 Settlement Agreement

was at all material times a valid and enforceable contract.

      61.    Among other acts or omissions, Mentor breached the terms of the

December 5, 2019 Settlement Agreement by justifying unlawful action, wrongfully

terminating Plaintiff’s employment, and attempting to enforce the “no rehire”

provisions set forth in ¶ 2B of the Agreement based on false, misleading, and/or

undisclosed representations of fact, and based on allegations, assertions, claims, or

defenses relating to or arising from Plaintiff’s employment with Mentor, which were

expressly waived and disclaimed by Mentor.

      62.    As a direct and proximate cause of Mentor’s breaches of contract, Ms.

Beers sustained damages in an amount to be proven at trial.

      WHEREFORE, Plaintiff prays for judgment and for the following relief:

   A. Back pay and lost income from January 29, 2020 with prejudgment interest;

   B. Compensatory and consequential damages, including, but not limited to
      compensation for Plaintiff’s mental anguish, financial stress, harm to
      reputation, loss of dignity and other tangible injuries flowing directly from
      Defendant’s breach of contract;

   C. An award of reasonable attorney’s fees and all costs; and

   D. All other damages to which plaintiff may be entitled, including punitive
      damages, to be determined by a jury.



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Dated: June 25, 2021              Respectfully Submitted,

                                  /s/ James A. Clifford
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